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                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                               Eastern Division

Anthony Dale, et al.
                                  Plaintiff,
v.                                                    Case No.: 1:22−cv−03189
                                                      Honorable Thomas M. Durkin
T−Mobile US, Inc., et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 14, 2025:


       MINUTE entry before the Honorable Jeffrey Cole: Non−party DISH Network's
motion for leave to file documents under seal [Dkt.#[288]] is granted. Emailed notice (yt)




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